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          6
                                             UNITED STATES BANKRUPTCY COURT
          7
                                              CENTRAL DISTRICT OF CALIFORNIA
          8                                         LOS ANGELES DIVISION

          9    In re:                                            Case No. 2:17-bk-19548-NB

          10   LAYFIELD & BARRETT,APC,                           Chapter 11
          11                                    Debtor.
B.


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(I)       12                                                     FIFTH STIPULATION AND TOLLING
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          13                                                     OF LIMITATION RE:PHILIP LAYFIELD
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         1            Richard M. Pachulski (the “L&B Trustee”), the Chapter 11 Trustee of the bankruptcy

         2    estate of Layfield & Barrett, APC(“L&B” or the “Debtor”), and Wesley H. Avery, the duly

         3    appointed chapter 7 trustee in the bankruptcy case entitled In re Philip James Layfield, Case

         4    No. 2:18-bk-15829-NB (the “Layfield Trustee”, and together with the L&B Trustee, the

         5     Parties”), hereby stipulate and agree as follows in accordance with the following facts and

         6    recitals;

         7                                                RECITALS

         8            A.        On August 3, 2017(the “L&B Petition Date”), petitioning creditors The Dominguez

         9    Firm, Inc., Mario Lara, Nayazi Reyes and Maria A. Rios (the “Petitioning Creditors”), filed an

         10   involuntary petition for relief under chapter 7 of the Bankruptcy Code, 11 U.S.C. §§ 101, e/ seq. (the

         11    Bankruptcy Code”), against L&B [Docket No. 1], in this Court thereby commencing the above-
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tit      12   captioned bankruptcy case (the “L&B Case”). That same day, the Petitioning Creditors filed an
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         13   Emergency Motionfior Appointment ofian Interim Trustee Under II U.S.C. § 303(g) and Granting
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         14   Emergency Re//e/[Docket No. 3](the “Trustee Motion”).

         15           B.        In response to the Trustee Motion, the Debtor filed a Motion to Convert Case Under
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u        16   II U.S.C.        706(a) or 1112(a) on August 8, 2017 [Docket No. 19](the “Conversion Motion”),
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         17   seeking to convert the L&B Case to one under chapter 11 of the Bankruptcy Code. On August 11,

         18   2017, the Court entered orders granting the Conversion Motion [Docket No. 25], and denying the

         19   Trustee Motion [Docket No. 24].

         20           C.        On August 16, 2017, the Debtor, Petitioning Creditors, and Advocate Capital, Inc.

         21   entered into a Stipulationfior the Appointment ofia Chapter 11 Trustee [Docket No. 38](the “Trustee

         22   Appointment Stipulation”), on the grounds that “the Parties believe that all creditors and the Debtor

         23   would be better served by the appointment of a chapter 11 trustee,” which the Court approved by

         24   order on August 17, 2017 [Docket No. 42]. Trustee Appointment Stipulation T| D at 2.

         25               D.    On August 21, 2017, the United States Trustee (the “UST”)filed its Notice ofi

         26   Appointment ofiChapter 11 Trustee, appointing Richard M. Pachulski as Chapter 11 Trustee in the

         27   L&B Case [Docket No. 51]. Also on August 21, 2017, the UST filed 3.n Applicationfior Order

         28   Approving Appointment ofi Chapter 11 Trustee [Docket No. 53], which application was granted by

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          1    the Court’s order entered the following day [Docket No. 56]. On August 28, 2017, the L&B Trustee

          2    filed his Acceptance ofAppointment as Chapter 11 Trustee [Docket No. 63].

          3             E.      On September 27, 2017, the Court entered its Order Amending “Order Converting

          4    This Case to One Under Chapter 11” to Include Orderfor Relief providing for the entry of the

          5    Order for Relief to be effective as of August 11, 2017 [Docket No. 99].

          6             F.      On May 21, 2018, the L&B Trustee and two other creditors (the “Lavfield Petitioning

          7    Creditors’”) filed an involuntary chapter 7 petition against Philip Layfield (“Lavfield”) in this Court

          8    [Docket No. 1], thereby commencing Case No. 2:18-bk-15829-NB (the “Lavfield Case”).

          9              G.     On May 23, 2018, Wellgen Standard, LLC, one of the Layfield Petitioning Creditors,

          10   filed Wellgen Standard, LLC’s Motionfor Order Appointing an Interim Trustee Under 11 U.S.C.

          11   § 303(g)[Docket No. 5](the “Interim Trustee Motion”), seeking the appointment of an interim
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          12   chapter 7 trustee in the Layfield Case.
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          13             H.     On May 30, 2018, this Court granted the Interim Trustee Motion and on June 8, 2018,
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          14   the LIST appointed the Layfield Trustee.
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          15             I.     To date, the L&B Trustee has determined that, in the one year before the L&B
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 CJ       16   Petition Date, the Debtor made numerous transfers to Philip Layfield.
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          17             J.     The time period for the L&B Trustee to bring certain potential causes of action

          18   against Layfield and any entities directly or indirectly owned by or under the control of Layfield

          19   (collectively “Lavfield Parties”) under Chapter 5 of the Bankruptcy Code and, potentially, claims

          20   under applicable state law (“Causes of Action”) originally was to expire on August 11, 2019 (the
               u
          21       Chapter 5 Statute of Limitations”).

          22             K.     On or about August 9, 2019, the L&B Trustee and Layfield Trustee entered into that

          23   certain Stipulation and Tolling Agreement Extending Statutes ofLimitation Re: Philip Layfield

          24   [Docket No. 445](the “First Extension Stipulation”), pursuant to which, among other relief, the

          25   Parties agreed to toll the Chapter 5 Statute of Limitations until March 11, 2020, in order to allow the

          26   parties to discuss and hopefully resolve informally the disposition of the Causes of Action without

          27   the need to commence formal proceedings in this Court. The Court approved the First Extension

          28   Stipulation by order entered the same day [Docket No. 446].

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            1           L.       On or about March 10, 2020, the L&B Trustee and Layfield Trustee entered into that

           2    certain Second Stipulation and Tolling Agreement Extending Statutes ofLimitation Re: Philip

           3    Layfield [Doeket No. 480](the “Seeond Extension Stipulation”), pursuant to whieh, among other

           4    relief, the Parties agreed to toll the Chapter 5 Statute of Limitations until September 11, 2020, in

           5    order to allow the parties to discuss and hopefully resolve informally the disposition of the Causes of

           6    Action without the need to commenee formal proceedings in this Court. The Court approved the

           7    Second Extension Stipulation by order entered on March 11, 2020 [Docket No. 481].

           8            M.       On or about August 5, 2020, the L&B Trustee and Layfield Trustee entered into that

           9    certain Third Stipulation and Tolling Agreement Extending Statutes ofLimitation Re: Philip Layfield

           10   [Docket No. 493](the “Third Extension Stipulation”), pursuant to which, among other relief, the

           11   Parties agreed to toll the Chapter 5 Statute of Limitations until March 11, 2021, in order to allow the
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           12   parties to diseuss and hopefully resolve informally the disposition of the Causes of Aetion without
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           13   the need to commenee formal proceedings in this Court. The Court approved the Third Extension
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           14   Stipulation by order entered on August 6, 2020 [Docket No. 494].
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           15           N.       On or about February 24, 2021, the L&B Trustee and Layfield Trustee entered into
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o          16   that certain Fourth Stipulation and Tolling Agreement Extending Statutes ofLimitation Re: Philip
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           17   Layfield [Docket No. 557](the “Fourth Extension Stipulation”), pursuant to which, among other

           18   relief, the Parties agreed to toll the Chapter 5 Status of Limitations until September 13, 2021, in

           19   order to allow the parties to discuss and hopefully resolve informally the disposition of the Causes of

           20   Action without the need to eommence formal proceedings in this Court. The Court approved the

           21   Fourth Extension Stipulation by order entered on February 24, 2021 [Docket No. 558].

           22           O.       The Parties seek to further extend the Chapter 5 Statute of Limitations to maintain the

           23   status quo between the L&B and Layfield bankruptcy estates with respeet to the Causes of Action in

           24   order to faeilitate further discussions and hopefully resolve informally the disposition of the Causes

           25   of Action without the need to commence formal proceedings in this Court.

           26           NOW,THEREFORE,as of September 9, 2021 (the “Commencement Date”), the L&B

           27   Trustee and the Layfield Trustee hereby stipulate and agree as follow:

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           1                                                  STIPULATION

          2            1.       The Parties incorporate the Recitals as set forth above, and such Recitals are made a

          3    material part hereof

          4            2.       Covenant Not to Sue. In consideration of the Layfield Trustee’s agreement to further

          5    toll the statutes of limitation as set forth herein, the L&B Trustee agrees not to commence, file or

          6    initiate any Causes of Action against any Layfield Party for the period beginning on the

          7    Commencement Date through March 9, 2022. The covenant is made with the understanding that the

          8    L&B Trustee and the Layfield Trustee may agree, in writing, to extend the duration of the covenant

          9    beyond the expiration date provided in this paragraph.

          10           3.       Tolling of Statutes of Limitation. In consideration for the L&B Trustee’s Covenant

          11   Not to Sue (as set forth in paragraph 2 of this Stipulation), the Layfield Trustee agrees that all
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td        12   statutes of limitation, including but not limited to those set forth in section 546 of the Bankruptcy
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          13   Code, applicable to any Causes of Action that the L&B Trustee may bring against any Layfield Party
K H “
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O z S     14   are hereby extended from the Commencement Date through and including April 11, 2022 (the
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          15    Tolling Period”), and the Tolling Period shall be excluded from any calculation of any statute of
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u         16   limitations period applicable to any Causes of Action brought by the L&B Trustee against any
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          17   Layfield Party. The Layfield Trustee acknowledges that he will be estopped hereby from arguing

          18   that this Stipulation is ineffective to extend the time within which the L&B Trustee must commence

          19   an action to pursue the Causes of Action.

          20           IN WITNESS WHEREOF,the Parties have executed this Stipulation as of the dates set

          21   forth below.

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           1   Dated: September 9, 2021                     PACHULSKI STANG ZIEHL & JONES LLP

          2
                                                            By       /s/ Malhar S. Pagay
          3                                                          Malhar S. Pagay
                                                                     Attorneys for Riehard M. Pachulski, Chapter
          4                                                          11 Trustee
          5

          6
               Dated; September 9, 2021                    WEILAND GOLDEN GOO
          7

          8
                                                           By
          9                                                         Jeffr^'TNQolden

          10                                                        Special Counsel for Wesley H. Avery,
                                                                    Chapter 7 Trustee
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): FIFTH STIPULATION AND TOLLING
AGREEMENT EXTENDING STATUTES OF LIMITATION RE: PHILIP LAYFRIELD will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 13, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 13, 2021, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 13, 2021, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

            By Email:
            Philip James Layfield
            Email: phil@maximum.global

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 13, 2021                   Sophia L. Lee                                           /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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